

Matter of Scaliti (2020 NY Slip Op 02526)





Matter of Scaliti


2020 NY Slip Op 02526


Decided on April 30, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 30, 2020

PM-69-20

[*1]In the Matter of John Joseph Scaliti, an Attorney. (Attorney Registration No. 4941688.)

Calendar Date: April 20, 2020

Before: Garry, P.J., Clark, Mulvey, Aarons and Pritzker, JJ.


John Joseph Scaliti, East Rutherford, New Jersey, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
John Joseph Scaliti was admitted to practice by this Court in 2011 and lists a business address in Hackensack, New Jersey with the Office of Court Administration. Scaliti now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application by correspondence from its Chief Attorney.
As is noted by AGC, Scaliti is presently delinquent in his New York attorney registration requirements, having failed to register for the biennial period beginning in 2019 (see Judiciary Law § 468-a; Rules of the Chief Admin of Cts [22 NYCRR] § 118.1). Inasmuch as Scaliti is therefore subject to potential disciplinary action (see Judiciary Law § 468-a [5]; Rules of Professional Conduct [22 NYCRR 1200.0] rule 8.4 [d]; see also Matter of Attorneys in Violation of Judiciary Law § 468-a, 113 AD3d 1020, 1021 [2014]), he is ineligible for nondisciplinary resignation and his application must be denied (see Matter of Cluff, 148 AD3d 1346, 1346 [2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [2017]). Further, any future application by Scaliti must be supported by proof of his full satisfaction of the requirements of Judiciary Law § 468-a and Rules of the Chief Administrator of the Courts (22 NYCRR) § 118.1 (see Matter of Frank, 146 AD3d 1228, 1228-1229 [2017]).
Garry, P.J., Clark, Mulvey, Aarons and Pritzker, JJ., concur.
ORDERED that John Joseph Scaliti's application for permission to resign is denied.








